Case 1:16-cv-11620-N|\/|G Document 184 Filed 12/28/18 Page 1 of 2

United States District Court
District of Massachusetts

 

DAVID B. TRACEY, et al.,
Plaintiffs,

Civil No.
16-11620-NMG

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MASSACHUSETTS INSTITUTE OF TECHNOLOGY,
et al.

Defendants.

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GORTON, J.

Plaintiffs' Objections to Magistrate Judge Order Denying
Motion to Modify Schedule and for Additional Depositions (Docket
No. 180) are SUSTAINED in part, and OVERRULED, in part; and the
scheduling order is modified as follows:

- parties are allowed to take up to 15 depositions for a
total of 45 hours of direct examination and all fact
depositions shall be completed on or before February
15, 2019;

- experts shall be designated and Rule 26 reports
exchanged on or before January 31, 2019;

- rebuttal experts, if any, shall be designated and Rule

26 reports exchanged on or before February 28, 2019;

Case 1:16-cv-11620-N|\/|G Document 184 Filed 12/28/18 Page 2 of 2

- expert depositions shall be completed on or before
March 31, 2019;

- dispositive motions shall be filed on or before April
24, 2019;

- oppositions to dispositive motions shall be filed on or
before May 24, 2019;

- the final pretrial conference will be held on
Wednesday, September 4, 2019 at 3:00 p.m.; and

- the trial shall commence on Monday, September 9, 2019
at 9:00 a.m.

There will be no further extensions or continuances.

So ordered.

WM@MZH

Nathaniel M. Gorton
United States District Judge

Dated: Decemberzg, 2018

